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                           UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                          100 EAST FIFTH STREET, ROOM 540
 Deborah S. Hunt         POTTER STEWART U.S. COURTHOUSE                      Tel. (513) 564-7000
     Clerk                   CINCINNATI, OHIO 45202-3988                   www.ca6.uscourts.gov




                                                 Filed: August 17, 2018
Mr. Aaron D. Lindstrom


                  Re: Case No. 16-4027, Planned Parenthood of Grtr. OH, et al v. Lance Himes
                      Originating Case No.: 1:16-cv-00539

Dear Mr. Lindstrom,

  This is to advise that the court has granted your motion for leave to file a corrected brief as
amici curiae in support of appellant and reversal.

                                                 Sincerely yours,

                                                 s/Beverly L. Harris
                                                 En Banc Coordinator
                                                 Direct Dial No. 513-564-7077

cc: Mr. Steven H. Aden
    Mr. Afshin Bahrampour
    Ms. Jennifer L. Branch
    Mr. Stephen P. Carney
    Mr. Matthew M. Collette
    Ms. Michelle Nicole Diamond
    Ms. Laura Etlinger
    Ms. Carrie Y. Flaxman
    Mr. Alphonse A. Gerhardstein
    Mr. Jyotin R. Hamid
    Mr. Zachery P. Keller
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    Mr. Lewis Yelin
